           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       CHARLOTTE DIVISION

                       CRIMINAL CASE NO. 3:08cr233-2


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                          ORDER
                          )
                          )
MIGUEL LORIA.             )
                          )



      THIS MATTER is before the Court on the Government’s Notice of

Attempt to Serve Motion to Dismiss Petition on Alma Loria [Doc. 70].

      On July 21, 2009, Alma Loria filed a document which she captioned

“Petition of Interest.” [Doc. 61]. On July 29, 2009, the Government moved

to dismiss that petition. [Doc. 67]. The Government attempted to serve

Alma Loria at the residence where she formerly lived with her husband,

Miguel Loria.1 The mail was returned as undeliverable because Ms. Loria

had moved leaving no forwarding address. As a result, the Government

has filed notice that it is unable to serve her.

      1
        Although not explicitly so stated in the Government’s pleading, the Government
appears to assume that Alma and Miguel are married since they resided together prior
to the Defendant’s arrest and share the same surname.


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      It would seem, however, that the Defendant or his attorney might be

in a position to know the new address for Ms. Loria. As a result, counsel

for the Government will be required to make such an inquiry through the

Defendant’s counsel. If, indeed, her address is provided, the Government

shall attempt service at that address. If it is not, the Government shall

notify the Court. This Order is entered pursuant to the Court’s inherent

powers. 28 U.S.C. §1651.

      IT IS, THEREFORE, ORDERED that on or before fifteen (15) days

from entry of this Order, counsel for the Government shall comply with the

terms and provisions hereof and shall file written notice of compliance.

                                      Signed: September 1, 2009




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